     Case 2:10-cv-00106-LRH-VCF Document 1166 Filed 08/15/18 Page 1 of 4




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6                                     UNITED STATES DISTRICT COURT

7                                            DISTRICT OF NEVADA

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9      ORACLE USA, INC., a Colorado corporation;
10     ORACLE AMERICA, INC., a Delaware
       corporation; and ORACLE INTERNATIONAL
11     CORPORATION, a California corporation,    Case No. 2:10-cv-0106-LRH-(VCF)

12                           Plaintiffs,                      PERMANENT INJUNCTION AGAINST
                                                              DEFENDANT RIMINI STREET, INC.
13             v.
14
       RIMINI STREET, INC., a Nevada corporation;
15     SETH RAVIN, an individual,

16                          Defendants.
17

18           This is a permanent injunction order pursuant to 17 U.S.C. § 502(a).

19           Good cause being shown, the court permanently enjoins and restrains defendant

20    Rimini Street, Inc. and its subsidiaries, affiliates, employees, directors, officers, principals, and

21    agents (collectively “Rimini Street”) as follows:

22           1. Rimini Street, Inc. shall provide notice of this Section 502 order to all subsidiaries,

23                  affiliates, employees, directors, officers, principals, and agents that may have any

24                  involvement whatsoever in reproducing, preparing derivative works from, or

25                  distributing PeopleSoft, J.D. Edwards, Siebel, or Oracle Database software or

26                  documentation.

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     Case 2:10-cv-00106-LRH-VCF Document 1166 Filed 08/15/18 Page 2 of 4




1           2. Rimini Street shall not reproduce, prepare derivative works from, or distribute

2              PeopleSoft, J.D. Edwards, or Siebel software or documentation in any way unless

3              both of the following conditions are met:

4                  a. Rimini Street shall not reproduce, prepare derivative works from, or distribute

5                      PeopleSoft, J.D. Edwards, or Siebel software or documentation unless solely

6                      in connection with work for a specific customer that holds a valid, written

7                      license agreement for the particular PeopleSoft, J.D. Edwards, or Siebel

8                      software and documentation authorizing Rimini Street’s specific conduct; and

9                  b. Rimini Street shall not reproduce, prepare derivative works from, or distribute

10                     PeopleSoft, J.D. Edwards, or Siebel software or documentation unless such

11                     conduct is consistent with the remaining terms of this order.

12

13                                              PeopleSoft

14          3. Rimini Street shall not distribute PeopleSoft software or documentation or any

15             derivative works created from or with PeopleSoft software or documentation;

16          4. Rimini Street shall not reproduce, prepare derivative works from, or use a specific

17             licensee’s PeopleSoft software or documentation other than to support the specific

18             licensee’s own internal data processing operations;

19          5. Rimini Street shall not reproduce, prepare derivative works from, or use PeopleSoft

20             software or documentation on, with, or to any computer systems other than a specific

21             licensee’s own computer systems;

22          6. Rimini Street shall not reproduce, prepare derivative works from, or use PeopleSoft

23             software or documentation on one licensee’s computer systems to support,

24             troubleshoot, or perform development or testing for any other licensee, including,

25             specifically, that Rimini Street shall not use a specific licensee’s PeopleSoft

26             environment to develop or test software updates or modifications for the benefit of

27             any other licensee;

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     Case 2:10-cv-00106-LRH-VCF Document 1166 Filed 08/15/18 Page 3 of 4




1                                             J.D. Edwards

2           7. Rimini Street shall not distribute J.D. Edwards software or documentation or any

3              derivative works created from or within J.D. Edwards software or documentation;

4           8. Rimini Street shall not copy or access J.D. Edwards software source code to carry out

5              development and testing of software updates;

6           9. Rimini Street shall not reproduce, prepare derivative works from, or use J.D. Edwards

7              software or documentation on, with, or to any computer systems other than a specific

8              licensee’s own computer systems, except to create an unmodified copy of a specific

9              licensee’s software application and documentation for use by that specific licensee in

10             the event that the production copy of the licensee’s software is corrupted or lost;

11          10. Rimini Street shall not reproduce, prepare derivative works from, or use J.D. Edwards

12             software or documentation on one licensee’s computer systems to support,

13             troubleshoot, or perform development or testing for any other licensee, including,

14             specifically, that Rimini Street shall not use a specific licensee’s J.D. Edwards

15             environment to develop or test software updates or modifications for the benefit of

16             any other licensee;

17

18                                                Siebel

19          11. Rimini Street shall not distribute or prepare derivative works from Siebel software or

20             documentation;

21          12. Rimini Street shall not copy or access Siebel software source code to carry out

22             development and testing of software updates;

23          13. Rimini Street shall not reproduce, prepare derivative works from, or use Siebel

24             software or documentation on, with, or to any computer systems other than a specific

25             licensee’s own computer systems, except solely to: create an unmodified copy of a

26             specific licensee’s software application and documentation for use by that specific

27             licensee in the event that the production copy of the licensee’s software is corrupted

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     Case 2:10-cv-00106-LRH-VCF Document 1166 Filed 08/15/18 Page 4 of 4




1              or lost; for emergency back-up purposes; or, for disaster recovery purposes and

2              related testing;

3           14. Rimini Street shall not reproduce, prepare derivative works from, or use Siebel

4              software or documentation on one licensee’s computer systems to support,

5              troubleshoot, or perform development or testing for any other licensee, including,

6              specifically, that Rimini Street shall not use a specific licensee’s Siebel environment

7              to develop or test software updates or modifications for the benefit of any other

8              licensee;

9                                           Oracle Database

10          15. Rimini Street shall not reproduce, prepare derivative works from, or distribute Oracle

11             Database software.

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13          IT IS SO ORDERED.

14          DATED this 15th day of August, 2018.

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16                                                       LARRY R. HICKS
                                                         UNITED STATES DISTRICT JUDGE
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